     Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 1 of 23



                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
TRIUMPH FOODS, LLC,                 )
CHRISTENSEN FARMS MIDWEST, LLC,     )
THE HANOR COMPANY,                  )
OF WISCONSIN, LLC,                  )
NEW FASHION PORK, LLP,              )
EICHELBERGER FARMS, INC.,           )
ALLIED PRODUCERS’ COOPERATIVE,      )
individually and on behalf          )
of their members,                   )
                                    )          CIVIL ACTION
                     Plaintiffs,    )          No. 23-11671-WGY
                                    )
               v.                   )
                                    )
ANDREA JOY CAMPBELL, in her         )
official capacity as Attorney       )
General of Massachusetts,           )
ASHLEY RANDLE, in her official      )
capacity as Massachusetts           )
Commissioner of Agriculture,        )
                                    )
                    Defendants.     )
___________________________________)

YOUNG, D.J.                                         February 5, 2024

                          MEMORANDUM & ORDER



I.   PROCEDURAL HISTORY

     The Plaintiffs Triumph Foods, LLC, Christensen Farms

Midwest, LLC, The Hanor Company of Wisconsin, LLC, New Fashion

Pork, LLP, Eichelberger Farms, Inc., and Allied Producers’

Cooperative (collectively, the “Pork Producers”) filed their

amended complaint, ECF No. 17, on July 31, 2023.        The complaint

alleged ten causes of action, most under the dormant Commerce


                                  [1]
      Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 2 of 23



Clause of the United States Constitution, against the

Defendants, the Massachusetts Attorney General and the

Massachusetts Commissioner of Agriculture (collectively, “The

Commonwealth”), due to the Prevention of Farm Animal Cruelty Act

(“the Act”), Mass. Gen. Laws Ann. ch. 129 App., § 1-1.          See Am.

Compl., ECF No. 17.     The Pork Producers requested a preliminary

injunction and, after a motion hearing on September 6, 2023, the

Court collapsed that motion with trial on the merits in

accordance with Rule 65(a)(2).      Electronic Clerk’s Notes, ECF

No. 42.   The Commonwealth then filed a motion to dismiss.          Mot.

Dismiss, ECF No. 53; see also Mem. Supp. Mot. Dismiss, ECF No.

54.   The Court granted the Commonwealth’s motion to dismiss with

respect to Counts II - X but denied the motion to dismiss with

respect to Count I, alleging a violation of the dormant Commerce

Clause.   See Electronic Clerk’s Notes, ECF No. 66.

      The Pork Producers then brought a motion for partial

summary judgment on Count I.      Mot. Summ. J., ECF No. 87; see

also Mem. Supp. Mot. Summ. J., ECF No. 88.        The parties fully

briefed the issues and the Commonwealth requested that summary

judgment be entered against the Pork Producers pursuant to Fed.

R. Civ. P. 56(f)(1).     See Mem. Opp’n Summ. J., ECF No. 94.           On

November 14, 2023, the Court heard oral argument on the motion

for summary judgment.     See Electronic Clerk’s Notes, ECF No. 99.

The Court entered summary judgment sua sponte, per the request


                                   [2]
       Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 3 of 23



of the Commonwealth, against all Plaintiffs aside from Triumph

Foods, LLC (“Triumph”), id., on all claims under a Pike theory

of discrimination.      Id.; see Hr’g Tr. 16:1-7,1 ECF No. 103; see

also Pike v. Bruce Church, Inc., 397 U.S. 137 (1970).

       The parties agreed to proceed on a case stated basis as to

Triumph’s claim under Count I with respect to the sales

provision of the Act (the “slaughterhouse exception”).           Id.     The

parties have briefed the slaughterhouse exception issue of Count

I on a case stated basis.       Defs.’ Br. Case Stated, ECF No. 109;

Pl.’s Br. Case Stated, ECF No. 110.

       On December 18, 2023, the Commonwealth filed a motion to

dismiss for lack of jurisdiction.         See Mot. Dismiss, ECF No.

114; see also Mem. Supp. Mot. Dismiss, ECF No. 115.           The parties

have briefed that issue fully.       See Opp’n. Mot. Dismiss, ECF No.

121.

II.    FINDINGS OF FACT

       In 2016, Massachusetts enacted the Act through ballot

initiative.    Am. Compl. ¶ 25.     The Act’s purpose is to “prevent

animal cruelty by phasing out extreme methods of farm animal

confinement, which also threaten the health and safety of


1 PLAINTIFFS’ COUNSEL (Mr. Raupp): With respect to the claims
under Pike vs. Bruce Church, which I don’t think were moved on,
certainly not by us -
  THE COURT: Well theirs was an outright [] opposition, and I
think they’re properly before me, and in any event I reject it
[i.e., the argument based on Pike].


                                    [3]
     Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 4 of 23



Massachusetts consumers, increase the risk of foodborne illness,

and have negative fiscal impacts on the Commonwealth of

Massachusetts.”    Mass. Gen. Laws Ann. ch. 129 App., § 1-1.           The

Act makes it unlawful “for a farm owner or operator within the

Commonwealth of Massachusetts to knowingly cause any covered

animal to be confined in a cruel manner.”       Id. § 1-2.    The Act

defines “confined in a cruel manner” as confining a “breeding

pig in a manner that prevents the animal from lying down,

standing up, fully extending the animal’s limbs or turning

around freely” (“Minimum Size Requirements”).        Id. § 1-5.    The

Act also makes it unlawful for a “business owner or operator to

knowingly engage in the sale within the Commonwealth of

Massachusetts of any . . . [w]hole pork meat that the business

owner or operator knows or should know is the meat of a covered

animal that was confined in a cruel manner, or is the meat of

the immediate offspring of a covered animal that was confined in

a cruel manner.”   Id. § 1-3.    A sale is defined in the Act as “a

commercial sale by a business that sells any item covered by

section 3 [of the Act],” but does not include “any sale

undertaken at an establishment at which inspection is provided

under the Federal Meat Inspection Act.”       Id. § 1-5(M).    The

definition goes on to state that “for purposes of this section,

a ‘sale’ shall be deemed to occur at the location where the




                                  [4]
     Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 5 of 23



buyer takes physical possession of an item covered by . . .

section 3 [of the Act].”     Id.

     The Attorney General has exclusive authority to enforce the

provisions of the Act.    Id. § 1-6.     Each violation of the Act is

punishable by a civil fine up to $1,000, and in addition, the

Attorney General may seek injunctive relief to prevent any

further violations of the Act.     Id.

     The Pork Producers here are a combination of pig farmers

(“the Farmer Plaintiffs”) and one pork processor, Triumph.

Collectively, the Pork Producers are located outside the

Commonwealth of Massachusetts, in Minnesota, Iowa, Nebraska,

Illinois, South Dakota, Wisconsin, Oklahoma, North Carolina,

Missouri, Wyoming, and Indiana.      Am. Compl. ¶¶ 12-19.     The

Farmer Plaintiffs allege that the Act will force them to

“convert their farm operations to meet Minimum Size

Requirements.”   Id. ¶ 56.    Triumph alleges that the adjustments

it will need to make as a pork processor in order to comply with

the Act are “penalties.”     Id. ¶ 58.

       a. Triumph’s Business Model and Sales

     Triumph, a farmer-owned company headquartered in St.

Joseph, Missouri, is a processor and producer of pork products.

Id. ¶ 12.   Triumph largely receives its supply of pigs from its

member-owners, many of whom were its fellow plaintiffs in this

case (prior to summary judgment entering against them).         Id.;


                                   [5]
     Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 6 of 23



see Electronic Clerk’s Notes, ECF No. 99.       Pork produced by

Triumph is sold into Massachusetts as well as throughout the

country.   Am. Compl. ¶ 117.    In 2022, Triumph processed over

eleven million pounds of pork meat sold into Massachusetts.

Joint Mot. Clarification Expedited Status Conf., Attach. A,

Partial Stipulation of Facts ¶ 4, ECF No. 107-1.        Triumph has

made efforts to adjust its business model and structure in order

to comply with the Act.    Am. Compl. ¶ 120.

     Triumph receives its orders for pork products through what

it refers to as its “exclusive pork marketer,” Seaboard

Corporation, Seaboard Foods, LLC, and Seaboard Foods of

Missouri, Inc. (“Seaboard” or “SBF”).       Id. ¶ 99.   Triumph and

Seaboard’s relationship is governed by a contract between the

two (“the Marketing Agreement”) which states that “[Triumph]

shall produce pork products at the TF Plant and that [Seaboard]

shall purchase, market and sell such products pursuant to this

Agreement.”2    Mem. Supp. Mot. Dismiss, Declaration, Ex. A,

Marketing Agreement § 2.01, ECF No. 115-2; Mem. Supp. Mot.

Dismiss 3.     The Marketing Agreement further states that “SBF

shall have the exclusive right to, and shall be obligated to,

market and sell on behalf of TF all TF Plant Products.”         Mem.

Supp. Mot. Dismiss, Declaration, Ex. A, Marketing Agreement §


     2 “TF Plant” refers to Triumph’s pork processing plant.
“SBF” refers to Seaboard, and “TF” refers to Triumph.


                                  [6]
     Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 7 of 23



6.01(a).    “SBF shall use its commercially reasonable efforts

(taking into account customer needs and requirements) to

schedule, market, and sell to customers all of the TF Plant

Products.”    Id.   Finally, the Marketing Agreement states that

Triumph agrees to produce “pork products that conform to the

relevant quality standards and specifications made available by

SBF to TF (the “Quality Standards”) . . . , as amended from time

to time.”    Id. § 7.02(a).   “TF shall be solely responsible and

liable for any Losses arising out of the production and sale of

products produced at the TF Plant that do not meet the Quality

Standards.”   Id. § 7.02(b).    “TF Plant Products that do not, in

the Reasonable Good Faith Determination of SBF, meet the

applicable Quality Standards (“Non-Conforming Products”) shall

be marketed and sold to customers by SBF as it deems appropriate

in its sole discretion.”      Id. § 7.02(c).

       b. The Act’s FMIA Exception (“Slaughterhouse Exception”)

     A processing facility is inspected under the Federal Meat

Inspection Act (“FMIA”) when the United States Department of

Agriculture Food Safety and Inspection Service examines the

product, facilities, and records of such pork processing plant.

See Am. Compl. ¶¶ 76-86.      Triumph is an FMIA-inspected facility.

See Mem. Supp. Mot. Summ. J. 12.      There are three pork

processing facilities that are FMIA-inspected within the

Commonwealth of Massachusetts.     See Pl.’s Br. Case Stated 3.


                                   [7]
     Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 8 of 23



Outside Massachusetts, there are 101 other FMIA-inspected

facilities that package and distribute such products for sale.

See id.

      As stated above, see p.4, supra, the Act here provides an

exemption from its requirements for pork products when those

products are sold on the premises of an FMIA-inspected facility.

     The exemption only occurs for the sale at the inspected

facility.    If, for instance, a Massachusetts FMIA-inspected pork

processer sold non-compliant pork on its premises to a grocery

store, that sale would be exempt; however, the store’s attempts

to then sell that non-compliant pork in-store, off the premises

of the FMIA-inspected facility, would be covered under the Act.

Were that same pork processor to sell directly to the consumer

at its facility, however, whether a family purchasing pork for

dinner or a hospital chain purchasing pork to be served, not

sold, to hundreds of patients, there would be no further sale of

the pork after the sale on the facility’s premises, and the

noncompliant pork sale would therefore be entirely exempt from

the Act.

III. ANALYSIS

     A.    The Commonwealth’s Motion to Dismiss

     The Commonwealth, in its motion to dismiss, argues that

because Seaboard, not Triumph, markets and sells Triumph pork

product into Massachusetts, Triumph “has not substantiated harm


                                  [8]
     Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 9 of 23



to Triumph causally connected” to the Act.       Mem. Supp. Mot.

Dismiss 1-2 (emphasis in original).      This is a distinction

without a difference, however, and the Commonwealth’s motion to

dismiss is denied.

       1. Standard of Review

     When evaluating a motion to dismiss pursuant to Federal

Rule of Civil Procedure 12(b)(1), granting such a motion “is

appropriate only when the facts alleged in the complaint, taken

as true, do not justify the exercise of subject matter

jurisdiction.”   Muniz-Rivera v. United States, 326 F.3d 8, 11

(1st Cir. 2003); see also MSP Recovery Claims Series 44, LLC v.

Bunker Hill Ins. Co., No. CV 22-11681-WGY, 2023 WL 4744739, at

*3 (D. Mass. July 25, 2023).     “When a district court considers a

Rule 12(b)(1) motion, it must credit the plaintiff's well-pled

factual allegations and draw all reasonable inferences in the

plaintiff's favor.”    Merlonghi v. United States, 620 F.3d 50, 54

(1st Cir. 2010).   “In addition, the court may consider whatever

evidence has been submitted, such as the depositions and

exhibits submitted in this case.”       Aversa v. United States, 99

F.3d 1200, 1210 (1st Cir. 1996).      “While the court generally may

not consider materials outside the pleadings on a Rule 12(b)(6)

motion, it may consider such materials on a Rule 12(b)(1)

motion.”   Gonzalez v. United States, 284 F.3d 281, 288 (1st Cir.

2002), as corrected (May 8, 2002).


                                  [9]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 10 of 23



       2. Standing under Article III

     “Article III confines the federal judicial power to the

resolution of ‘Cases’ and ‘Controversies.’ For there to be a

case or controversy under Article III, the plaintiff must have a

‘personal stake’ in the case -- in other words, standing.”

TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021).        “[T]o

establish standing, a plaintiff must show (i) that he suffered

an injury in fact that is concrete, particularized, and actual

or imminent; (ii) that the injury was likely caused by the

defendant; and (iii) that the injury would likely be redressed

by judicial relief.” Id. (citing Lujan v. Defs. of Wildlife, 504

U.S. 555, 560-61 (1992)).

     The Commonwealth characterizes Triumph’s relationship with

Seaboard to that of a buyer and seller.      As the Commonwealth

describes it, Triumph sells its pork products to Seaboard, and

Seaboard then, as now-owner of these products, markets and sells

them into Massachusetts.    Mem. Supp. Mot. Dismiss 6-7.       Triumph

disputes this characterization, however, instead describing

Seaboard as a contractor Triumph engages to market its products.

See Opp’n. Mot. Dismiss 10.    Drawing every reasonable inference

in favor of Triumph as the plaintiff, the contractual

relationship between Seaboard and Triumph does not prevent

Triumph from suffering injury under the Act.       Triumph’s pork

products can only be sold into Massachusetts when they are


                                 [10]
       Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 11 of 23



compliant with the Act; who markets the products and creates

relationships with customers does not change that fact.

        In order to produce compliant pork, Triumph must (and in

fact, has begun to) restructure its processing facility and

procedures, segregating pork that meets the requirements of the

Act.    See Am. Compl. ¶ 89.     Without compliant pork, Triumph is

unable to sell its products into Massachusetts at all.            These

are both concrete, particularized injuries to Triumph.            See,

e.g., Gustavsen v. Alcon Labs., Inc., 903 F.3d 1, 8 (1st Cir.

2018) (“[A]ctual economic loss . . . is the prototypical

concrete harm.”).

        This injury to Triumph is also imminent and actual economic

harm.    See Lujan, 504 U.S. at 555.       The Commonwealth argues that

Seaboard is required “to sell all of Triumph’s product.”            Mem.

Supp. Mot. Dismiss 8 (emphasis in original).          With this claim,

however, the Commonwealth misreads the Marketing Agreement.

Seaboard is only required to sell all of Triumph’s product that

meets the Quality Standards set forth by Seaboard.           Product that

fails to meet these Quality Standards is only sold at Seaboard’s

discretion, and Triumph is responsible for any loss suffered due

to the sale or failure to sell such products.          Seaboard designs

its Quality Standards based on the needs of its consumers;

consumers in Massachusetts likely have more stringent




                                    [11]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 12 of 23



requirements due to the Act.     Triumph, therefore, must produce

pork compliant with the Act in order to make its sales.

     Triumph has standing to challenge the Act.        The

Commonwealth’s motion to dismiss is denied.

     B.   The Pork Producers’ Claims under Pike

     Triumph and its co-plaintiffs have attempted to reserve

argument of their claims under Pike.      See Pike, 397 U.S. at 142.

Under this argument, the Pork Producers argue that “the burdens

on interstate commerce outweigh the putative local benefits of

the statute.”   See Mem. Supp. Mot. Summ. J. v.      The Court

entered summary judgment against this claim at oral argument;

the Pork Producers, however, continue to raise it.        The claim is

foreclosed by the recent Supreme Court decision in National Pork

Producers Council v. Ross, 598 U.S. 356, 371 (2023), and the

Court therefore entered summary judgment against the Pork

Producers on this argument.    In Ross, two organizations of pork

producers filed suit on behalf of their members to challenge

Proposition 12, a California state statute that is nearly

identical to the Act.    Id. at 367.    The Supreme Court ruled that

“harm to some producers’ favored methods of operation” did not

rise to a “substantial harm to interstate commerce,” and that

“increased production expenses” cannot be compared by a court to

“noneconomic” state benefits.     Id. at 385-87 (internal quotation

marks omitted); id. at 380-81.     Further, the Court explained,


                                 [12]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 13 of 23



“judges often are ‘not institutionally suited to draw reliable

conclusions of the kind that would be necessary . . . to satisfy

[the] Pike’ test as petitioners conceive it.”       Id. at 380

(quoting Department of Revenue of Kentucky v. Davis, 553 U.S.

328, 353 (2008)).   Triumph apparently wants the Court to attempt

to apply the Pike balancing test to the facts of its case.         As

the Supreme Court notes, however, “[t]he competing goods are

incommensurable. . . . In a functioning democracy, policy

choices like these usually belong to the people and their

elected representatives.”    Id. at 382.

     “[C]ourts should not be in a position to choose between

different substantive moral positions based on an inchoate

balancing test.   Instead, the question should be whether the

state has a genuine and well-founded conscience concern

underlying its law.”   Note, The Dormant Commerce Clause and

Moral Complicity in a National Marketplace, 137 Harv. L. Rev.

980, 1001 (2024) (“The Dormant Commerce Clause and Moral

Complicity”).   As the Act here is the result of Massachusetts

citizens petition process, see Sec’y of the Commonwealth of

Mass., Information for Voters, Massachusetts 2016 Ballot, 8–11

(2016),3 these “social norms . . . have won out in the political

process of [Massachusetts].”     The Dormant Commerce Clause and


     3 https://www.sec.state.ma.us/divisions/elections/download/
information-for-voters/IFV_2016-English.pdf.


                                 [13]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 14 of 23



Moral Complicity, supra, at 1000-01.      Accordingly, this Court

declines to engage in Pike balancing and rejects the Pork

Producers’ argument.

     The Pork Producers complain that summary judgment should

not have entered against them on this point as the Court gave

inadequate warning of that result.       See Fed. R. Civ. P. 56(f)

(“After giving notice and a reasonable time to respond, the

court may (1) grant summary judgment for a nonmovant . . . .”).

The point is of no practical moment (as the Court sought to

explain during a busy motion session).      The legal issue had been

fully briefed and the Court’s resolution obviated the need for

evidence.

     C.    Constitutionality of the “Slaughterhouse Exception”

     Finally, Triumph and the Commonwealth proceeded on a case

stated basis regarding Triumph’s last claim, the so-called

slaughterhouse exception.

          1. Standard of Review

     “In a case stated, the parties waive trial and present the

case to the court on the undisputed facts in the pre-trial

record.”    Sánchez-Rodríguez v. AT&T Mobility P.R., Inc., 673

F.3d 1, 10-11 (1st Cir. 2012) (quotation and citation omitted).

“‘Case-stated’ resolution is appropriate ‘when the basic dispute

between the parties concerns only the factual inferences that

one might draw from the more basic facts to which the parties


                                  [14]
      Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 15 of 23



have agreed, and where neither party has sought to introduce

additional factual evidence or asked to present witnesses.’”

Id. at 11 (quoting United Paperworkers Int’l Union, Local 14 v.

International Paper Co., 64 F.3d 28, 31 (1st Cir. 1995)).           In a

case stated procedure, “the Court approaches the issues as a

neutral adjudicator and is entitled to ‘engage in a certain

amount of factfinding, including the drawing of inferences.’”            A

& W Maint., Inc. v. First Mercury Ins. Co., 91 F. Supp. 3d 113,

118 (D. Mass. 2015) (citation omitted).

         2. Analysis

      The Act defines “sale” as: “a commercial sale by a business

that sells any item covered by section 3 [of the Act]; provided,

however, that ‘sale’ shall not include any sale undertaken at an

establishment at which inspection is provided under the Federal

Meat Inspection Act.”      Mass. Gen. Laws Ann. ch. 129 App., § 1-5.

The Act provides further that “for purposes of this section, a

‘sale’ shall be deemed to occur at the location where the buyer

takes physical possession of an item covered by said section 3.”

Id.   Sales covered under the Act must occur within the

Commonwealth of Massachusetts.       Id. § 1-3.    The Act therefore

exempts sales “undertaken” at federally inspected establishments

within the Commonwealth of Massachusetts, so long as the “buyer




                                   [15]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 16 of 23



takes physical possession” of the covered items while on the

premises of the inspected establishment.

     Triumph alleges that as an out-of-state pork processor, it

cannot take advantage of this exemption, even though it operates

entirely federally inspected facilities, because it ships its

product into the Commonwealth from out-of-state and, therefore,

its buyers do not “take physical possession” of its product

while at its facilities.    See Am. Compl. ¶¶ 232-37.      Meanwhile,

the federally inspected pork processors in Massachusetts could

operate within this exception.     Id.   For instance, “a large end-

user of pork in Massachusetts -- a hospital system, the state

prison system, a large school district, etc. -- who has for

decades been buying and taking shipment of millions of dollars

of pork each year,” could now purchase and take possession of

cheaper, noncompliant pork on the premises of an in-state

facility.   Mem. Supp. Mot. Summ. J. 12, ECF No. 88.       In

contrast, Triumph would have no way to provide that same

customer with its noncompliant pork, because it does not have an

in-state, federally inspected facility.

     The Commonwealth does not dispute Triumph’s analysis of the

regulation’s exemption.    See Mem. Supp. Mot. Dismiss 10.

Instead, it argues that this “limited exception . . . does not

evince an unconstitutional aim to advantage in-state

businesses,” id., and that “the law operates to give in-state


                                 [16]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 17 of 23



and out-of-state slaughterhouses the same access to

Massachusetts consumers.”    Defs.’ Br. Case Stated 8.      It is true

that the Commonwealth may not have had a discriminatory purpose

or intent in legislating this exception.

      The dormant Commerce Clause, however, also asks the Court

to decide whether the Act results in a discriminatory effect.

“A state law is discriminatory in effect when, in practice, it

affects similarly situated entities in a market by imposing

disproportionate burdens on out-of-state interests and

conferring advantages upon in-state interests.”        Family

Winemakers of Cal. v. Jenkins, 592 F.3d 1, 10 (1st Cir. 2010)

(citing Oregon Waste Sys., Inc. v. Department of Env’t Quality

of State of Or., 511 U.S. 93, 99 (1994)).       “If the effect of a

state regulation is to cause local goods to constitute a larger

share, and goods with an out-of-state source to constitute a

smaller share, of the total sales in the market . . . [,] the

regulation may have a discriminatory effect on interstate

commerce.”   Exxon Corp. v. Governor of Maryland, 437 U.S. 117,

126 n.16 (1978) (citing Hunt v. Washington State Apple Advert.

Comm’n, 432 U.S. 333, 347 (1977); Dean Milk Co. v. City of

Madison, Wis., 340 U.S. 349, 352 (1951)).

     Triumph alleges that, under the Act, in-state processors

could “create a monopoly for pork processing because they can

accept all meat-- regardless of whether the meat complies with


                                 [17]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 18 of 23



the Act and the Regulations-- while out-of-state processors

cannot.”   Am. Compl. ¶ 237.   The Commonwealth counters only that

this is “pure speculation,” and that in-state slaughterhouses

could not “accommodate that sudden skyrocketing demand.”         Mem.

Supp. Mot. Dismiss 10; Defs.’ Br. Case Stated 10.

     The slaughterhouse exception has a discriminatory effect.

The only way Triumph would be able to take advantage of the

slaughterhouse exception would be to open its own federally

inspected facility within the Commonwealth of Massachusetts,

which the Supreme Court has held violates the Commerce Clause.

See Granholm v. Heald, 544 U.S. 460, 475 (2005).        Instead,

Triumph and other out-of-state pork processors must face higher

costs to sell pork into Massachusetts than those of their

counterparts in Massachusetts, similar to the issue in Hunt.

See Hunt, 432 U.S. at 351 (“North Carolina apple producers,

unlike their Washington competitors, were not forced to alter

their marketing practices in order to comply with the statute. .

. . Obviously, the increased costs imposed by the statute would

tend to shield the local apple industry from the competition of

Washington apple growers . . . .”).

     As the slaughterhouse exception is discriminatory, it “is

virtually per se invalid . . . and will survive only if it

advances a legitimate local purpose that cannot be adequately

served by reasonable nondiscriminatory alternatives.”        Jenkins,


                                 [18]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 19 of 23



592 F.3d at 5 (citing Davis, 553 U.S. at 338).       The Commonwealth

fails to demonstrate that the provision advances a legitimate

local purpose.   The Court takes no position on whether the Act

itself serves a legitimate local purpose, see Ross, 598 U.S. at

382,4 but the slaughterhouse exception itself does not appear to

meet the Act’s purported local purpose, as it does not prevent

noncompliant pork meat from sale in the Commonwealth of

Massachusetts.   The Court, therefore, rules that the

slaughterhouse exception violates the dormant Commerce Clause

because it discriminates against out-of-state commerce.

     D.   Severability

     Although the slaughterhouse exception violates the dormant

Commerce Clause, it does not render the entire Act

unconstitutional; instead, the provision may be severed from the

rest of the Act.   Severability is governed by state law.        See

Schwann v. FedEx Ground Package Sys., 813 F.3d 429, 440 (1st

Cir. 2016).   In Massachusetts, there is a “a well-established

judicial preference in favor of severability and a recognition

that ‘the Legislature has announced its own preference in favor

of severability’ as well.”    Id. (quoting Peterson v. Comm'r of

Revenue, 444 Mass. 128, 138 (2005)); see Mass. Gen. Laws ch. 4,


     4 The Commonwealth argues that the local purpose of the Act
is to “promot[e] animal welfare and remov[e] inhumane products
and their negative effects from its markets.” Defs.’ Br. Case
Stated 10.


                                 [19]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 20 of 23



§ 6, Eleventh (setting forth statutory rule of construction that

“the provisions of any statute shall be deemed severable, and if

any part of any statute shall be adjudged unconstitutional or

invalid, such judgment shall not affect other valid parts

thereof[]”).

     The question of severability turns on legislative intent.5

As the Act was passed by popular vote, the Court therefore must

decide whether Massachusetts voters “would have enacted the

particular bill without the [invalid] provision, or whether, in

the absence of the [invalid] provision, the [voters] would have

preferred that the bill have no effect at all.”        Mass. Gen. Laws

ch. 4, § 6 (quoting Peterson, 444 Mass. at 138).        “Severability

entails a two-step examination in which [the court]

determine[s], first, whether the invalid portion of the statute

is ‘capable of separation’ and, second, whether ‘upholding the

statute as severed would frustrate the legislative purpose.’”




     5 Notably, the Act here contains a severability clause,
Mass. Gen. Laws Ann. ch. 129 App., § 1-9, indicating the voters’
intent to save any portion of the Act that could be upheld in
the case of a constitutional challenge. See Opinion of the
Justices, 330 Mass. 713, 726 (1953) (“Where the statute contains
a severability clause . . . , this is a declaration by the
Legislature that it intends to have the principle of
severability invoked wherever possible.”).


                                 [20]
      Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 21 of 23



K.J. v. Superintendent of Bridgewater State Hosp., 488 Mass.

362, 373 (2021) (citation omitted).

      The slaughterhouse exception is “capable of separation”

from the rest of the statute.       A statute is “capable of

separation” when the “severed [portion] is not so connected with

and dependent upon other clauses of the act as to constitute an

essential factor of the whole.”       Id. at 374-75 (internal

quotation marks omitted).      The provision here is a discrete

clause and, were it severed, the Act can still function as

intended.

      Second, the statute as severed would not frustrate the

legislative purpose of the Act.       In fact, were the

slaughterhouse exception severed, the Act would only become

enforceable in more locations.       If anything, therefore, severing

the slaughterhouse exception from the Act only serves to bolster

its purpose.

      E.   Preemption under the Federal Meat Inspection Act

      Triumph argues that the slaughterhouse exception cannot be

severed from the Act since “absent the exception, the Act is

unquestionably preempted by the FMIA.”        Pl.’s Br. Case Stated

13.   This Court, however, has a number of questions before

reaching that conclusion.      Indeed, having declared the

slaughterhouse exemption unconstitutional, it necessarily must

revisit its dismissal of the Pork Producers’ claim that the Act,


                                   [21]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 22 of 23



as originally drafted, was preempted by the FMIA.        Am. Compl.,

Count III, ¶ 200.      The Court thus vacates that dismissal and

grants the Pork Producers 30 days from the date hereof to move

for summary judgment on the ground that the Act –- with the

slaughterhouse exemption severed –- is now preempted by the

FMIA.

  IV.     CONCLUSION

        The Commonwealth’s motion to dismiss, ECF No. 114, is

DENIED.     The Court concludes that the slaughterhouse exemption

violates the dormant Commerce Clause, and orders that provision

SEVERED from the rest of the Act.

         The Court entered summary judgment against all Plaintiffs

on all counts and claims save for a dormant Commerce Clause

claim regarding the slaughterhouse exemption of the Act.         See

Electronic Clerk’s Notes, ECF No. 99.

        That order must now be VACATED in part to allow the Court

to consider whether the Act –- with the slaughterhouse exemption

severed –- is now preempted by the FMIA.

        SO ORDERED.




                                  [22]
    Case 1:23-cv-11671-WGY Document 125 Filed 02/05/24 Page 23 of 23



                                            _/s/ William G. Young_
                                             WILLIAM G. YOUNG
                                                  JUDGE
                                                  of the
                                              UNITED STATES6




     6 This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 45 years.


                                 [23]
